1     KAPLAN FOX & KILSHEIMER LLP
      Laurence D. King (SBN 206423)
2     Matthew B. George (SBN 239322)
      Blair E. Reed (SBN 316791)
3     1999 Harrison Street, Suite 1560
      Oakland, CA 94612
4     Telephone: 415-772-4700
      Facsimile: 415-772-4707
5     Email: lking@kaplanfox.com
              mgeorge@kaplanfox.com
6             breed@kaplanfox.com

7     STUEVE SIEGEL HANSON LLP
      Norman E. Siegel (pro hac vice to be filed)
8     J. Austin Moore (pro hac vice to be filed)
      Brandi S. Spates (pro hac vice to be filed)
9     460 Nichols Road, Suite 200
      Kansas City, Missouri 64112
10    Telephone: 816-714-7100
      Email: siegel@stuevesiegel.com
11            moore@stuevesiegel.com
              spates@stuevesiegel.com
12
     Attorneys for Plaintiffs and the Putative Class
13

14                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
15

16
      CLAIRE PADDY and NEIL HAVEN, on behalf             Case No. 4:23-cv-06698-KAW
17    of themselves and all others similarly situated,

18                           Plaintiffs,                 ADMINISTRATIVE MOTION TO
                                                         CONSIDER WHETHER CASES SHOULD
19           v.                                          BE RELATED PURSUANT TO CIVIL
                                                         LOCAL RULES 3-12 AND 7-11
20    23ANDME, INC.,

21                           Defendant.

22

23

24

25

26

27

28
                                                                            Case No. 4:23-cv-06698-KAW
                       ADMIN. MOT TO CONSIDER WHETHER CASES SHOULD BE RELATED
1           Plaintiffs Claire Paddy and Neil Haven (“Paddy Plaintiffs”) submit this administrative motion,

2    pursuant to Civil Local Rules 3-12(b) and 7-11(a), to consider whether the above entitled action, Paddy,

3    et al v. 23andMe, Inc., Case No. 4:23-cv-06698-KAW (the “Paddy Action”), which was filed on

4    December 29, 2023 and is currently assigned to Magistrate Judge Kandis A. Westmore, should be related

5    to numerous other similar pending actions in this District. Specifically, the Paddy Plaintiffs move the

6    Court to consider whether the Paddy Action should be related to Santana, et al. v. 23andMe, Inc., Case

7    No. 3:23-cv-05147-EMC (N.D. Cal) (the “Santana Action”) filed on October 9, 2023. The Santana

8    Action is currently assigned to the Honorable Edward M. Chen. There are at least 20 other cases filed

9    in this District that have already been related to the Santana Action. See Case No. 3:23-cv-05147-EMC,

10   ECF Nos. 24 and 30 (collectively, the “23andMe Actions”). The Paddy Plaintiffs expect that additional

11   cases arising from 23andMe’s breach of personal and confidential information will ultimately be related

12   to the Santana Action as well.

13          Plaintiffs submit that the 23andMe Actions are related within the meaning of Civil Local Rule

14   3-12(a). Actions are related when (1) the actions substantially concern the same parties, property,

15   transaction or event; and (2) it appears likely that there will be an unduly burdensome duplication of

16   labor and expense or conflicting results if the cases are conducted before different judicial officers. Civ.

17   L.R. 3-12(a). The Paddy, Santana, and other 23andMe Actions involve the same Defendant and

18   substantially the same facts. See Civ. L.R. 3-12(a)(1). Specifically, Plaintiffs in all of the cases are

19   consumers that generally allege that their private personally identifiable information (“PHI”) and

20   personal genetic information (“PGI”) was stolen from 23andMe by unauthorized persons in early

21   October 2023 (the “Data Breach”). Furthermore, all of the cases are putative class actions seeking to

22   represent substantially similar, if not identical, putative classes, and seek damages and other relief. As

23   such, each action will require adjudication of substantially the same questions of law and fact. The

24   Court has set an initial case management conference in the 23andMe Actions for January 23, 2024.

25          Given these similarities, it “appears likely that there will be an unduly burdensome duplication

26   of labor and expenses of conflicting results if the cases are conducted before different Judges.” Civ.

27   L.R. 3-12(a)(2). Indeed, having these actions prosecuted separately would create an undue burden on

28
                                                        -1-                         Case No. 4:23-cv-06698-KAW
                       ADMIN. MOT. TO CONSIDER WHETHER CASES SHOULD BE RELATED
1    the Court and parties and cause duplication of labor and expense, as well as lead to potentially conflicting

2    results. Relating these actions will conserve judicial resources and ensure consistent results.

3           Accordingly, Paddy Plaintiffs respectfully request that the Paddy Action be deemed related to

4    the Santana Action and other 23andMe Actions pursuant to Local Rule 3-12(a).

5                                                 Respectfully submitted,
6     DATED: January 4, 2024                      KAPLAN FOX & KILSHEIMER LLP
7                                                 By: /s/ Matthew B. George
                                                          Matthew B. George
8
                                                  Laurence D. King (SBN 206423)
9                                                 Matthew B. George (SBN 239322)
                                                  Blair E. Reed (SBN 316791)
10                                                1999 Harrison Street, Suite 1560
                                                  Oakland, CA 94612
11                                                Telephone: 415-772-4700
                                                  Facsimile: 415-772-4707
12                                                Email: lking@kaplanfox.com
                                                          mgeorge@kaplanfox.com
13                                                        breed@kaplanfox.com
14                                                STUEVE SIEGEL HANSON LLP
                                                  Norman E. Siegel (pro hac vice to be filed)
15                                                J. Austin Moore (pro hac vice to be filed)
                                                  Brandi S. Spates (pro hac vice to be filed)
16                                                460 Nichols Road, Suite 200
                                                  Kansas City, Missouri 64112
17                                                Telephone: 816-714-7100
                                                  Email: siegel@stuevesiegel.com
18                                                        moore@stuevesiegel.com
                                                          spates@stuevesiegel.com
19
                                                  Attorneys for Plaintiffs and the Proposed Class
20

21

22

23

24

25

26

27

28
                                                        -2-                         Case No. 4:23-cv-06698-KAW
                       ADMIN. MOT. TO CONSIDER WHETHER CASES SHOULD BE RELATED
